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      23-1240-cv
         United States Court of Appeals
                                          for the

                          Second Circuit
MARCO ANTONIO PEREZ PEREZ, on their own behalf and on behalf of others
 similarly situated, JOSE EDUARDO SANCHEZ ARIAS, on their own behalf
                     and on behalf of others similarly situated,
                                                                    Plaintiffs-Appellants,
           AARON TOWNSEND, MARTIN GALVAN GUEVARA,
         OSCAR GARZA, VINCENTE PADILLA, KASHEEM C HILL,
          MARTIN JR. GALVAN, DIEGO BECERRA VILLASENOR,
                                                                               Plaintiffs,
                                           – v. –
    ESCOBAR CONSTRUCTION, INC., NATIONS CONSTRUCTION, INC., JRS
    SERVICES, LLC, JENNY CAROLINA ALVAREZ, JHONY ARIS ESCOBAR,
          ELIAS OSMIN ALVAREZ PALACIOS, AKA Elias Escobar,
                                                                  Defendants-Appellees,
        JHONY A ESCOBAR, ELIAS O PALACIOS, AKA Elias Escobar,
            NATALIE PALACIOS, LUIS ENRIQUE MONZON,
                                                                             Defendants.
                      ––––––––––––––––––––––––––––––
           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

              BRIEF FOR DEFENDANTS-APPELLEES

                                                    DANIEL GRACE
                                                    DANNY GRACE PLLC
                                                    Attorneys for Defendants-Appellees
                                                    225 Broadway, Suite 1200
                                                    New York, New York 10007
                                                    (212) 202-2485


-     COUNSEL PRESS   (800) 4-APPEAL • (326408)
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                   CORPORATE DISCLOSURE STATEMENT
      1.      Escobar Construction, Inc. (“Escobar Construction”) is not a

publicly traded Corporation or entity, and it filed for bankruptcy in the United States

Bankruptcy Court, Southern District of Indiana, Case Number 22-02606-RLM-11.

On December 6, 2022, the Bankruptcy Court ordered that Escobar Construction, Inc.

has no assets remaining and that any scheduled property of the estate is abandoned.

Mr. Jhony Escobar is the only member of Escobar Construction and filed for

personal bankruptcy in the United States Bankruptcy Court, Southern District of

Indiana, case number 23-00782-RML-7. On June 2, 2023, the Bankruptcy Court

ordered that Mr. Escobar is entitled to a discharge under 11 U.S.C. §727.

       2.     JRS Services, LLC is not a publicly traded corporation or entity, and it

was dissolved on August 19, 2020.

       3.    Nations Construction is not a publicly traded corporation or entity and

it was dissolved on March 26, 2020.

      Dated: New York, NY
             December 22, 2023
                                                     /s/Daniel Grace
                                                     Daniel Grace, Esq
                                                     Yuting Li, Esq.
                                                     Douglas Mace, Esq.
                                                     Danny Grace PLLC
                                                     225 Broadway, Suite 1200
                                                     New York, NY 10007
                                                  Attorneys for Defendants-Appellee
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                               INTRODUCTION
      The District Court granted Appellee’s motion to dismiss Appellant’s Second

Amended Complaint (“SAC”), concluding that Appellants failed to sufficiently

allege that Appellees are “employers” of Appellants under the Fair Labor Standards

Act (“FLSA”) and New York Labor Law (“NYLL”), and that Corporate Appellees

did not constitute a single enterprise under the FLSA.

      Individual Appellees are the President and Owner of three different Corporate

Appellees. Appellees were not the employers of the Appellants for the following

reasons: Appellees did not set Appellants’ work schedules or control conditions of

their employment; and Appellants worked for Appellees as subcontractors or

independent contractors.

      Further, the allegation that Corporate Appellees are owned by different

individuals of an extended family and that they commingle funds is not, on its own,

enough to make a reasonable fact finder infer that they constitute a single enterprise

under the Fair Labor Standards Act (“FLSA”).

      Moreover, it is well-settled that individual officers or owners in a company

are not automatically liable as an “employer” under the FLSA and NYLL. The FLSA

provides that a corporate officer, supervisor, and owner is only personally liable

under the FLSA if Appellants can make plausible allegations that the individual

officers or owners controlled the affected employees’ hiring and firing, their work



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schedules, the conditions of their employment, the rate and methods of their payment,

and that they maintain the employment records of the affected employees.

      Even assuming that the single integrated enterprise theory applies to the FLSA,

Appellants must sufficiently allege the “centralized control of labor relations.”

Allegations of common purpose, without more, do not answer the fundamental

question of whether each corporate entity controlled Appellants as employees.

      The District Court’s judgment should be affirmed.

                     JURISDICTIONAL STATEMENT
      The District Court had subject-matter jurisdiction under 28 U.S.C. §§ 1331

and 1337 over the federal claim under the Fair Labor Standards Act, 29 U.S.C. §§

201 et seq. (“FLSA”). The district court had supplemental jurisdiction over plaintiffs’

state law claims under New York Labor Law, Article 6, §§ 190 et seq. and Article

19, §§ 650 et seq. (“NYLL”) under 28 U.S.C. §§ 1332 and 1367.

      This Court has jurisdiction under 28 U.S.C. § 1291 because the appeal is from

the final judgment entered by the District Court on August 22, 2023. That judgment

disposed of Appellants–Plaintiffs’ claims alleging that Appellees–Defendants are

jointly and severally liable for Appellants’ damages under the FLSA and NYLL.

Appellants timely filed a notice of appeal on September 7, 2023, and filed their Brief

on November 22, 2023.




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                       STATEMENT OF THE ISSUES
       1.     Whether Appellees timely filed their motion to dismiss Appellants’

SAC.

       2.     Whether under the four-factor totality of the circumstances test

discussed in Carter v. Dutchess Community College, 735 F.2d 8, 12 (2d Cir.1984),

Appellants make a plausible threshold showing that they were employees of

Individual Appellees under the FLSA and NYLL.

       3.     Whether Appellants make a plausible threshold showing that the

Corporate Appellees constitute one enterprise under the FLSA.

       4.     Whether, under the four-factor totality of the circumstances test

discussed in Carter v. Dutchess Community College, 735 F.2d 8, 12 (2d Cir.1984)

Appellants make a plausible threshold showing that they were employees of

Corporate Appellees under the FLSA and NYLL.

             STATEMENT OF THE CASE AND OF THE FACTS
       I.   Relevant Factual Background
       Appellants Marco Antonio Perez Perez (“Perez”) and Jose Eduardo Sanchez

Arias (“Arias,” and together, “Appellants”) brought this action against corporate

Appellees Escobar Construction, Inc. (“Escobar Construction”), Nations

Construction, Inc. (“Nations Construction”), and JRS Services, LLC (“JRS

Services”), Jhony Aris Escobar (“Escobar”), Elias Osmin Alvarez Palacios

(“Palacios”), and Jenny Carolina Alvarez (“Alvarez)” under the Fair Labor



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Standards Act, 29 U.S.C. §§ 201 et seq. (“FSLA”) and New York Labor Law, Article

6, §§ 190 et seq. and Article 19, §§ 650 et seq. (“NYLL”). See, Appellants’ Second

Amended Complaint (“SAC”), A71-72.

      Appellants allege that they were employed by Individual and Corporate

Appellees as construction workers on various projects at various times from 2017 to

2019. (SAC ¶¶ 10-11; A73-34)

      Appellants further allege that from March 1, 2017, to August 1, 2018, and

from approximately November 2018 through February 2019, Perez worked for

Appellees. Id. ¶¶ 10, 140; A73,89. Appellants allege that Perez worked for Appellees

from 7:00 a.m. to 7:00 p.m., from Monday through Sunday, for twelve (12) hours a

day and eighty-four (84) hours per week. Id. ¶¶ 142 to 146; A89-90.

      Appellants also allege that Appellant Arias worked for Appellees from “in or

about” March 2017 to October 1, 2018, and from December 2018 through January

2019. Id. ¶¶ 11, 161; A74, 92. Appellants also allege that Appellant Arias worked for

Appellees for eighty-four (84) hours per week from September 15, 2017, to October

1, 2018. Id. ¶¶ 12, 164; A74, 92.

      A. Appellants’ Conclusory Allegations as to Corporate Appellees
      Appellants allege that Corporate Appellees constitute a single enterprise.

(SAC ¶¶ 100, 116 -29; A84, 86-88). Nations Construction’s only project was at the

Lafayette, Indiana worksite as Escobar Construction’s subcontractor. Id. ¶121; A87.

Appellants also conclusorily allege that Corporate Appellants: “share staff…who

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would perform construction work at the various worksites”; “pay [Appellants] for

the work performed as an indistinguishable entity” to the extent that “[Appellants]

would receive pay from both” Nations Construction and JRS Services “for work

performed at the bequest of Escobar Construction”; “pay [Appellants] using the

checks from Nations Construction, Inc. and JRS Services LLC”; “advertise the

Corporate [Appellees] as an enterprise”; and are “co-owned by the same partners,

namely the Escobar/Palacios family.” Id. ¶116; A86. Appellants also allege that

“[Corporate Appellants] commingled funds and distributed profits to family

members who did not work as either an independent contractor or employee at the

Company.” Id. ¶119; A87.

       B. Appellants’ Conclusory Allegations as to Individual Appellees
       Appellants allege that Individual Appellees “are officers, directors, managers,

and/or majority shareholders or owners of” the Corporate Appellees. SAC ¶¶ 23;

A75. Appellants recite the elements of Carter and allege that Appellee Escobar was

the President of Escobar Construction, and “(1) had the power to hire and fire

employees, (2) supervised and controlled employee work schedules or conditions of

employment, (3) determined the rate and method of payment based on experience

and rate of labor completion, and (4) maintained employee records through corporate

emails” at Escobar Construction and Nations Construction. Id. ¶24; A76.

       Appellants further allege that Escobar brought new workers to the worksite,

and “actually hired” Perez and Arias. Id. ¶30-31; A76. Appellants also allege that

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Escobar “intentionally failed to keep and/or retain records pertaining to the hours

worked” by Appellants (id. ¶47; A78), “was present on a day-to-day basis” at the

worksite in Ithaca, New York (id. ¶26; A76), and that Escobar “had project

supervisors manage the work schedules of each employee” and “report the hours.”

(Id. ¶¶28-29; A76). Appellants further allege that Escobar promised to pay Perez

$25.00 per hour and Arias $17.00 per hour. Escobar “induced” them to travel to

“Lafayette [,] Indiana with the promise of paying all of the unpaid wages from Ithaca,

New York if they worked at the Indiana worksite.” Id. ¶52; A79.

      Appellants also recite the elements of Carter as to Appellee Palacios. Id. ¶¶55-

56, 63, 66; A79, 80. Appellants allege that Palacios hired Perez for JRS Services (id.

¶62; A80), “calculated the pay for the construction workers on Microsoft Excel and

on paper” (id. ¶64; A80), “handled the paychecks for JRS Services” (id. ¶65; A80),

was “Perez’s employer… in New Albany and Ohio” (id. ¶67; A80), “was authorized

to sign the paychecks of” JRS Services (id.¶91; A83), and “would distribute pay

checks sent” by Escobar Construction and Nations Construction. Id. ¶97; A83.

      Appellants also recite the elements of Carter with respect to Appellee Alvarez.

Id ¶¶100, 107, 112; A84, 85. Appellants allege that Appellee Alvarez hired a

supervisor for the Lafayette, Indiana worksite (id.¶103;A84), and “hired each of the

construction workers on behalf of Nations Construction.” Id. ¶111; A85. Appellants

also allege that Alvarez “had the authority to sign paychecks of Nations Construction”


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and “was in charge of receiving the payments, paying construction workers, and

verifying that the job was done properly and [c]orrectly.” Id. ¶¶ 108, 109; A85.

      II.  Relevant Procedural Background 1
      Appellants commenced this action on December 29, 2019 (A001) and filed

their first amended complaint on August 3, 2020 (A032) and the SAC on November

29, 2022 (A071). On January 23, 2023, Appellees filed a motion to dismiss

Appellants’ SAC. (“MTD”). A116-65.

      On February 6, 2023, Appellants filed their opposition to Appellees’ motion

to dismiss (“Opposition”). A166-85. On February 13, 2023, Appellees filed their

reply in further support of their motion to dismiss (“Reply”). A186-200.

      On March 3, 2023, Appellants filed their motion for leave to file their Third

Amended Complaint to add claims of opt-ins under state law. A207.

      On April 13, 2023, the Honorable Magistrate Judge Gabriel Gorenstein of the

United States District Court of the Southern District of New York denied Appellants’

motion for leave to file a third amended complaint. Id. On April 27, 2023, Appellants

filed their objection to Judge Gorenstein’s denial (“Objection”). Id.


1
 Reference to Plaintiffs-Appellants’ Second Amended Complaint (A71-106) is
cited as, “SAC¶__.” Reference to Defendants-Appellees’ memorandum in support
of the motion to dismiss (A136-65) is cited as, “Mem. at__.” Reference to
Plaintiffs-Appellants’ opposition to the motion to dismiss (A166-85)is cited as,
“Opp. at __.” Reference to Defendants-Appellees’ reply in further support of their
motion to dismiss (A186-200) is cited as, Re. at__.” Reference to the District
Court’s Order (A201-23) is cited as, “Order at _.” Reference to Appellants’ Brief is
cited as, “Brief at ___.”

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      On August 22, 2023, the Honorable Judge Laura T. Swain of the United States

District Court of the Southern District of New York granted Appellees’ motion to

dismiss Appellants’ SAC and overruled Appellants’ objection (“District Court’s

Order”). A223.

      On September 7, 2023, Appellants filed their notice of appeal of the District

Court’s Order “granting [Appellees’] motion to dismiss the operative complaint and

denying [Appellants’] motion to amend the operative complaint entered on August

22, 2023.” ECF No. 1; see also, A225.

      On November 22, 2023, Appellants filed their brief in support of their appeal

of the District Court’s Order granting Appellees’ motion to dismiss Appellants’ SAC

under Rule 12(b)(6), and thus, Appellants waived their appeal of the District Court’s

Order denying Appellants’ Objection. (ECF No. 40)2.

                         SUMMARY OF ARGUMENT
      The District Court’s Order should be affirmed because Appellees timely-filed

their motion to dismiss Appellants’ SAC based on Rule 12(b)(6) in lieu of filing an

answer. Further, the District Court’s Order should be affirmed because Appellants




2
 Thus, Appellants waived any challenge to the merits of the District Court’s Order
denying Appellants’ Objection. See, Moates v. Barkley, 147 F.3d 207, 209 (2d Cir.
1998) (ruling that the Second Circuit “normally will not [] decide issues that a party
fails to raise in his or her appellate brief” even if the appellants are pro se).


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failed to raise this argument with the District Court in their opposition to Appellees’

motion to dismiss their SAC.

      The District Court’s Order should be affirmed because the conclusory,

boilerplate and conflicting allegations of Appellants’ complaint do not a raise a

plausible inference that Appellants are employees of Appellees. Further, Appellants’

brief makes allegations that are not included in Appellants’ SAC and should not be

considered on appeal. Appellants may not amend their SAC merely by raising new

allegations in their opposition and Appellate Brief. As for individual Appellees,

Appellants fail to sufficiently allege that the individual Appellees supervised or

controlled the terms of Appellants’ employment as employees under the Carter

factors.

      Appellants’ SAC also fails to sufficiently allege that Corporate Appellees

should be liable under the FLSA as a single enterprise because they fail to plausibly

allege that any of the individual Corporate Appellees is their employer, and because

their conclusory and contradictory allegations fail to answer the fundamental

questions of whether and how each corporate entity controlled Appellants’

employment.

      Finally, the District Court’s Order should be affirmed because of the numerous,

sanctionable deficiencies in Appellants’ brief and the multiple violations of Federal

Rule of Appellate Procedure (“FRAP”) 28. Specifically, the Brief does not contain a


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factual statement, a jurisdictional statement, and a summary of arguments as required

by law. Further, a substantial portion of the arguments feature factual statements

without any citation to legal authority. Neither the District Court nor this Court is

obliged to correct Appellants’ deficiencies.

                         STANDARD OF REVIEW
      The Court of appeals may “review de novo a dismissal of a complaint for

failure to state a claim upon which relief may be granted.” Kelleher v. Fred A. Cook,

Inc., 939 F.3d 465, 467 (2d Cir. 2019); see also, Chambers v. Time Warner, Inc.,

282 F.3d 147, 152 (2d Cir. 2002). The District Court’s “findings of historical fact

and ... findings as to the existence and degree of each factor—are findings of fact

that must be accepted on appeal unless clearly erroneous.” Tapia v. Blch 3rd Ave

LLC, 906 F.3d 58, 61 (2d Cir. 2018) (per curiam) (citing Zheng v. Liberty Apparel

Co. Inc., 355 F.3d 61, 76 (2d Cir. 2003).

      In reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure

(“Rule”) 12(b)(6), a Court must “accept all factual allegations in the complaint as

true and draw all reasonable inferences in favor of the plaintiff.” N.J. Carpenters

Health Fund v. Royal Bank of Scotland Grp., PLC, 709 F.3d 109, 119 (2d Cir. 2013))

(internal quotations and alterations omitted).

      The pleading standard that Rule 8 requires is “more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678,129 S.Ct. 1937, 1949 (2009). Further, a pleading that offers nothing more than

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“labels and conclusions” or “a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct.

1955,9164-65 (2007) (citing Papasan v. Allain, 478 U.S. 265, 286, 106 S.Ct.2932

(1986)). Nor does a complaint suffice if it tenders “naked assertion[s]” devoid of

“further factual enhancement.” Id. at 557.

        Thus, to withstand a motion to dismiss pursuant to Rule 12(b)(6), a complaint

must plead facts sufficient “to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570. “A claim has facial plausibility where the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Matson v. Bd. of Educ. Of City Sch.

Dist. Of New York, 631 F.3d 57, 63 (2d Cir. 2011) (citing Ashcroft, 556 U.S. at

678,129 S.Ct. at 1949). “Factual allegations must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555. Moreover, “[w]hile legal

conclusions could provide the framework of a complaint, they must be supported by

factual allegations.” Ashcroft, 556 U.S. at 679. Appellants’ SAC, wrought with

generalized assertions, unsupported by facts, fails to meet this pleading standard.

                                    ARGUMENT
   I.      Appellants’ Brief Should Be Dismissed Because of its Deficiencies
           Appellants’ brief should be dismissed for failing to follow Federal Rule of

Appellate Procedure (“FRAP”) 28. Appellants’ brief is in contravention of FRAP 28

because it fails to contain a jurisdictional statement, a summary of arguments, and a


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proper statement of facts. Brief, at 2-3. Further, Appellants fail to sufficiently and

accurately cite to legal authority in support of their contentions. See, e.g., Brief at 7.

         Appellants’ brief also violates FRAP 28 because a substantial amount of

Appellants’ brief features factual statements without any citations to legal authority.

Brief at 17-21, 23-27. Such violations are sanctionable per Rule 46 and the Second

Circuit Local Rule 46. See, e.g., In re Liu, 282 F. App’x 7, 10 (2d Cir. 2008); see

also, In re Roman, 601 F.3d 189, 195-96 (2d Cir. 2010).                Thus, Appellees

respectfully request that this Court dismiss Appellants’ appeal because of the

sanctionable deficiencies of Appellants’ brief. See, e.g., United States v. Selterzer,

227 F.3d 36, 42 (2d Cir. 2000) (discussing district court’s inherent powers) (Courts

have power to “police the conduct of attorneys as officers of the court.”).

   II.       Appellees’ Motion to Dismiss Was Timely Filed
         A. Appellants’ New Argument Should Not Be Considered
         It is “a well-established general rule that an appellate court will not consider

an issue raised for the first time on appeal.” Bogle-Assegai v. Connecticut, 470 F.3d

498, 504 (2d Cir. 2006) (cleaned up). Even if this Court has discretion to consider

waived arguments, the circumstances normally “do not militate in favor of an

exercise of discretion to address ... new arguments on appeal” where those

arguments were “available to the [parties] below” and they “proffer no reason for

their failure to raise the arguments below.” Id. (quoting Allianz Insurance Co. v.

Lerner, 416 F.3d 109, 114 (2d Cir.2005)).


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      Here, Appellees filed a motion to dismiss Appellants’ SAC for failure to state

a cause of action under Rule 12(b)(6) in lieu of answering Appellants’ SAC.

Appellants’ argument that Appellees’ motion was untimely because Appellees had

already interposed an answer to Appellants’ First Amended Complaint (“FAC”) is

entirely unavailing. A144-45. Moreover, as Appellants failed to raise this issue in

the District Court (opp. at 3-7; A166, 174-77), Appellants’ new argument, raised for

the first time on appeal, should not be considered. Bogle-Assegai, 470 F.3d at 505-

07 (affirming the district court’s dismissal of the appellant’s claims and refusing to

consider the appellant’s new argument because the appellant had “proffered no

reason for her failure to make [her] argument in the district court” in her opposition);

see also, Sowe v. Pall Corp., 778 F. App’x 20, 22 (2d Cir. 2019) (ruling that the

Second Circuit “consider[s] this claim waiver and will not address it” because the

relevant argument “was not made in the district court and is raised for the first time

here”) and Rivera v. Home Depot USA, Inc., 776 F. App’x 4, 7 (2d Cir. 2019)

(ruling that the Second Circuit “decline[s] to consider on appeal matters not

sufficiently raised before the district court.”).

      B. Appellees Were Entitled to File a Motion to Dismiss Appellants’ SAC
      “It is well established that an amended complaint ordinarily supersedes the

original and renders it of no legal effect.” International Controls Corp. v. Vesco, 556

F.2d 665, 668 (2d Cir. 1977), cert. denied, 434 U.S. 1014, 98 S.Ct. 730 (1978).




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          Here, Appellants filed their SAC on November 29, 2022 (A071) which

superseded Appellants’ FAC and renders the FAC of no legal effect. Appellees did

not file an answer to Appellants’ SAC. Appellants fail to cite to any applicable case

law in support of their allegations. The cases to which Appellants cite are

inapplicable as Appellees did not file an answer to Appellants’ SAC.

      Additionally, even if Appellees had filed an answer to the SAC, Appellees’

motion to dismiss could have been considered as a Rule 12(c) motion for judgment

on the pleadings because the defense of failure to state a cause of action is non-

waivable. Patel v. Contemp. Classics of Beverly Hills, 259 F.3d 123, 126 (2d Cir.

2001). Thus, Appellees’ motion was properly granted, and therefore, Appellants’

SAC should be dismissed, regardless of whether the Court treats Appellees’ motion

as a motion for judgment on the pleadings under Rule 12(c) or a motion to dismiss

under Rule 12(b)(6). Ziemba v. Wezner, 366 F.3d 161, 163 (2d Cir. 2004) (ruling

that the standard of reviewing a motion for judgment on the pleadings under Rule

12(c) is the same as that for a Rule 12(b)(6) motion for failure to state a claim.

   III.     Appellants Fail to Make a Plausible Threshold Showing That
            Appellees Are Their Employers
           This court has established four (4) factors to determine the “economic reality”

of a putative employment relationship: “whether the alleged employer (1) had the

power to hire and fire the employees, (2) supervised and controlled employee work

schedules or conditions of employment, (3) determined the rate and method of


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payment, and (4) maintained employment records.” Barfield v. New York City

Health & Hosps. Corp., 537 F.3d 132, 142 (2d Cir. 2008) (summary order) (quoting

Carter v. Dutchess Community College, 735 F.2d 8, 12 (2d Cir.1984))3. Further, “the

determination of the [employment] relationship does not depend on such isolated

factors” as where work is done or how compensation is divided “but rather upon the

circumstances of the whole activity.” Irizarry v. Catsimatidis, 722 F.3d 99, 104 (2d

Cir. 2013) (summary order) (quoting Rutherford Food Corp. v. McComb, 221

U.S.722, 730, 67 S.Ct. 1473(1947)). The critical inquiry is whether the person

“possessed the power to control the workers in question ... with an eye to the

‘economic reality’ presented by the facts of each case.” Herman v. RSR Sec. Servs.

LTD., 172 F.3d 132, 139 (2d Cir. 1999).

      The Second Circuit has assumed, “without deciding, that ‘the tests for

‘employer’ status are the same under the FLSA and the NYLL…” Tapia, 906 F.3d

at 61, n.1(citing Irizarry, 722 F. 3d at 117); see also, L. Rosario v. Mis Hijos Deli

Corp., No. 15-CV-6049 (LTS) (DCF), 2018 WL 4636822, at *10 (S.D.N.Y. Sept.



3
 This Court also considers the Zheng factors in determining whether “an entity had
functional control over workers even in the absence of the formal control measured
by the Carter factors.” Zheng v. Liberty Apparel Co. Inc., 355 F.3d 61, 72 (2d Cir.
2003). Zheng factors should not be considered for this brief because Appellants
failed to raise the argument that they were employees under the Zheng factors in
their opposition to Appellees’ motion to dismiss. See, Sowe, 778 F. App’x at 22.
Appellants do not make any arguments relating to the functional control test in
Appellants’ Brief.

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27, 2018) (ruling that the terms of employer’s interpretation are consistent under

both the FLSA and NYLL).

   A. Appellants Fail to Make a Plausible Threshold Showing That Individual
      Appellees Are Their Employers
      1. Appellants Fail to Sufficiently Allege an Employer-Employee
         Relationship with Appellee Escobar
      The District Court did not err in finding that Appellants’ “remaining

allegations are insufficient to support a finding of an employment relationship”

because the allegations are merely a boilerplate recital of the Carter elements, and

therefore, should not be considered. Order at 17-18; A217-18.

      Appellants’ arguments on appeal are based on conclusory allegations or

allegations that are not contained in their SAC. Brief at 21-23. First, Appellants

argue that they meet the second element because Appellants had fixed schedules and

because Escobar controlled Appellants’ schedules. Brief, at 21-22. Such an

argument directly conflicts with Appellants’ SAC, which states that Escobar “had

project supervisors manage the work schedules of each employee.” SAC¶28; A76.

Accordingly, Appellants admit that it was not Escobar who supervised or controlled

Appellants’ schedules. Thus, such contradictory allegations should not be taken as

true. Perry v. NYSARC, Inc., 424 F. App’x 23, 25 (2d Cir. 2011).

      Further, Appellants’ SAC does not allege that Appellants had fixed schedules,

or that they were required to work from 7:00 a.m. to 7:00 p.m., from Monday to

Sunday. The SAC also fails to allege that Appellants’ work schedules were set by


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Escobar. SAC ¶¶142, 162; A89,92. Thus, this argument should not be considered

because Appellants failed to raise it with the District Court and may not amend their

complaint via an appellate brief. See, Scott v. City of New York Dep’t of Corr., 641

F.Supp.2d 211, 229 (S.D.N.Y.2009), aff'd, 445 Fed.Appx. 389 (2d Cir.2011)

(finding that it is inappropriate to consider the new allegations or claims raised in

plaintiff’s opposition papers because the plaintiff may not amend his or her

complaint merely by raising new facts in plaintiff’s opposition papers); see also,

Shah v. Helen Hayes Hosp., 252 F. App’x 364, 366 (2d Cir. 2007) (summary order)

(ruling that “[a] party may not use his or her opposition to a dispositive motion as a

means to amend the complaint”)(collecting cases).

      Second, Appellants SAC does not allege that “[s]ince defendant Escobar was

at the Ithaca location at all times the defendants completed that job he would discuss

with plaintiffs and others when to come in and when to leave.” [sic]. Opp. at 9; A179.

Instead, Appellants merely allege that Appellee Escobar “was a direct contact with

Plaintiffs at the Ithaca, New York worksite. He had phone call conversations with

Plaintiffs and text messages concerning….” [sic]. SAC ¶ 38; A77. 4


4
  Appellants raised this argument in their opposition, alleging that Appellee Escobar
“was physically present at the Ithaca location at all times the defendants completed
that job he would discuss with [Appellees] and others when to come in and when to
leave.” Opp. at 9; A179. In their reply, Appellees corrected Appellants and argued
that Appellants’ SAC does not contain such an allegation. Re. at 3; A192. The
District Court also corrected Appellants and advised them that they could not amend
their SAC by asserting new facts for the first time in their opposition to Appellees’

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      All in all, Appellants’ conclusory and boilerplate allegations leave the District

Court to determine on its own initiative how Escobar controlled Appellants as

employees because the SAC fails to allege: (1) who set Appellants’ schedules; (2)

who supervised and controlled Appellants’ work schedules and conditions of

employment, and how they did so; and (3) and how the rate and method of payment

was determined, and by whom. Thus, a reasonable fact finder could not infer from

these allegations that an employer-employee relationship existed between Escobar

and Appellants. See, Chavis v. Chappius, 618 F.3d 162, 170 (2d Cir. 2010) (ruling

that the Court “cannot invent factual allegations”); and Irizarry, 722 F.3d at 109

(“[T]o be an ‘employer,’ an individual defendant must possess control over a

company's actual ‘operations’ in a manner that relates to a plaintiff’s employment.”);

see also, e.g., Nandkumar v. AstraZeneca PLC, No. 22-2704-CV, 2023 WL 3477164,

at *2 (2d Cir. May 16, 2023) (finding that to survive a motion to dismiss, a complaint

must “demonstrate with specificity” as to the elements of a cause of action); and

Yuan v. AA Forest, Inc., No. 20CV5484AMDMMH, 2022 WL 900614, at *5

(E.D.N.Y. Mar. 28, 2022) (denying a finding of employer-employee relationship as

the complaint did not “allege facts showing that [Defendant Kevin Guo] supervised



motion to dismiss. Order at 18, n. 6; A 218. This argument should not be considered
because Appellants cannot amend their complaint merely by raising a new argument
in their opposition papers. Shah v. Helen Hayes Hosp., 252 F. App’x 364, 366 (2d
Cir. 2007).

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the plaintiffs, controlled their working conditions, maintained employment records

or interacted with them” even if Defendant was the owner and “hired each named

plaintiff and paid all employees on Mondays”); Wolman v. Catholic Health Sys. of

Long Island, Inc., 853 F. Supp. 2d 290, 299 (E.D.N.Y. 2012) (“[C]ourts will not find

individual liability when the relationship between plaintiff-employees and the

putative employer is too attenuated, especially when the entity has a significant

number of employees.”), aff’d in part, rev’d in part sub nom. Lundy v. Catholic

Health Sys. of Long Island Inc., 711 F.3d 106 (2d Cir. 2013).

      2.Appellants Fail to Sufficiently Allege an Employer-Employee
        Relationship with Appellee Palacios
      The District Court did not err in finding that Appellants’ SAC is insufficient

to support a finding that Appellants have met the last three Carter factors. Order at

19-20. Appellants allege that Appellee Palacios hired Perez (SAC ¶62; A80); but

they also allege that both Appellants were hired by Escobar (id. ¶¶31,122; A76,87)

and “dispatched” by Escobar to different worksites. Id. Thus, this set of

contradictory allegations should not be considered as true, and therefore, the first

Carter factor weighs in favor of Appellees. Perry, 424 F. App’x at 25.

      Appellants argue that Palacios controlled Appellants and their work schedules

because Palacios served as the “day-to-day supervisor” at Binghamton, NY. Brief at

24. However, they fail to allege any facts with respect to how this affected

Appellants’ employment, if any. Tapia, 906 F.3d at 62 (affirming District Court’s


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finding that the “second Carter factor was not satisfied. Although Appellants

testified that Sharma regularly visited the restaurant, tasted the food, and directed

employees to clean”).

      Appellants also admit that Palacios did not keep employee records (brief at

23) and “did not keep track of the employee time” (id. at 25; A76). Indeed, they fail

to assert sufficient, non-contradictory, and non-conclusory facts to plausibly

demonstrate that Palacios maintained employee records. Appellants allege that

Palacios “did not keep track of employee time” (id. ¶74; A81) and mailed his notes

of “the work hours each day” to Escobar Construction (id. ¶96; A83), but then state

that “there wasn’t an organized methodology how [he] keep tracked of

everything[sic]. Sometimes it was on paper, and sometimes it was on email” (id. ¶95;

A83). Thus, this set of contradictory allegations should not be considered as true.

Perry, 424 F.App’x at 25.

      As for the remaining allegations, some of them are contrary to other

allegations of Appellants’ SAC. Appellants allege Appellee Palacios worked for

Escobar Construction as an employee at different worksites, (id. ¶¶ 81,85; A81,82).

Appellants then allege to the contrary that Palacios worked as a subcontractor at

different worksites (id.¶83; A82). Appellants then allege that Palacios worked as “a

project supervisor at the worksite of Binghamton, NY” (id. ¶90; A82). The




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aforementioned allegations are contradictory and difficult to follow (id. ¶¶55, 63 67,

71; A79,80), and thus should not be considered.

      The other allegations are conclusory and merely constitute a recital of the

elements of Carter, or are legal conclusions, and thus should not be accepted as true.

Roth v. Jennings, 489 F.3d 499, 516-17(2d Cir. 2007).

      Appellants fail to plausibly allege the existence of an employer-employee

relationship between Appellants and Appellee Palacios, and therefore, Appellee

Palacios was properly dismissed from this action5. Salahuddin v. Jones, 992 F.2d

447, 449 (2d Cir.1993) (affirming the dismissal of a claim based on “wholly

conclusory and inconsistent allegations”); and, Irizarry, 722 F.2d at 109. (“[T]o be

an ‘employer’ an individual defendant must possess control over a company’s actual

‘operations’ in a manner that relates to a plaintiff’s employment.”); and Tapia, 906

F.3d at 62(affirming district court’s finding that there was no employment

relationship between individual defendant and plaintiff, where plaintiff had only

demonstrated one of the four Carter factors).



5
  Indeed, Appellants admit that Appellees Palacios and Alvarez are not employers by
alleging that “[Appellee] Escobar directed things behind the scenes at all three
companies…”and that “transfer is deemed a ‘hire’ or ‘transfer’” Brief at 18; SAC
¶¶121-22;A 87. Appellants also allege that “dispatch constitutes a re-assignment or
a rehire….” Brief at 26. Appellants argue that Palacios “has the power to hire and
fire at the Binghamton, New York worksite” and was assigned to work as a “project
manager at the Binghamton, New York worksite.” Id. at 28. Thus, Appellants’
arguments are inconsistent with each other and are at odds with the underlying facts.

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      3. Appellants Fail to Sufficiently Allege an Employer-Employee
         Relationship with Appellee Alvarez
      The District Court did not err in finding that “[Appellants] do not allege any

facts specific to their relationship with Ms. Alvarez” and that they failed to

sufficiently allege each Carter factor. Order at 20-21. Appellants simply parrot the

Carter factors, or list Alvarez’s job title, the only shareholder of Nations

Construction and a supervisor at the worksite in Lafayette, IN. Those allegations are

too conclusory to plausibly allege that Alvarez was the employer of Appellants.

      Appellants fail to sufficiently allege that Alvarez hired or fired Appellants.

The allegation of Alvarez having hired a “Supervisor” is insufficient because

Appellants fail to show how this is related to Appellants’ employment or that there

was any communication between the “Supervisor” and Appellants.6 See, Guo Zhang

v. Shun Lee Palace Rest., Inc., No. 17-CV-00840 (VSB), 2021 WL 634717, at *8

(S.D.N.Y. Feb. 16, 2021) (finding that the conclusory statements that Bin Hu hired

Manager Yu only established a single Carter factor “regarding Bin Hu’s employment

relationship with Manager Yu, rather than with Plaintiffs at issue”)( Rejecting the

similar argument also raised by Appellants’ Counsel).




6
 Again, such an allegation is in conflict with the allegation that Escobar “induced”
Appellants to work at the Lafayette, IN worksite. SAC¶ 52; A79. Similarly, the
conclusory allegation that Alvarez “hired each of the construction workers on behalf
of Nations construction” (id. ¶111; A85) is in conflict with other allegations that
Escobar actually hired and fired Appellants (id. ¶¶31,46, 122; A76, 78, 87).

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      Appellants also argue that Ms. Alvarez had the authority to determine the rate

and method of payment of the Appellants because Alvarez “averred that she set the

pay for construction workers on behalf of” [sic] Nations Construction. Brief at 27.

Such an assertion constitutes a legal conclusion, and thus should not be taken as true.

Chavis, 618 F.3d at 170 (“Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.”).

      Appellants also admit that Appellee Alveraz did not keep Appellants’

employment records. Brief at 27.

      Appellants also allege that Appellee Alvarez “had authority to sign paychecks

on behalf of Nations Construction” (id ¶108; A85), was “in charge of receiving the

payments, paying the construction workers, and verifying that the job was done

properly and [c]orrectly” (id. ¶109; A85), “acted as a day to day [sic] supervisor” in

Lafayette, IN (id. ¶118; A86-87), and that Alvarez “directed the progress of

workflow, including how many units need to be done by due dates.” Id. ¶113; A85.

These conclusory and boilerplate allegations are not sufficiently plead to satisfy the

last three factors of Carter. See, e.g., Chavis, 618 F.3d at 170 (The Court also “cannot

invent factual allegations” plaintiff has not pleaded).

      Thus, Appellants do not plead allegations sufficient to answer the fundamental

question of how Appellee Alvarez exercised any operational control that directly

affected the nature or conditions of Appellants’ employment. Bao Guo Zhang, 2021


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WL 634717, at *9; see also, Ashcroft, 556 U.S. at 678, 129 S. Ct. at 1949

(“Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.”); see also, Tapia, 906 F.3d at 61 (citing

Irizarry, 722 F.3d at 104) (“A person exercises operational control over employees

if his or her role within the company, and the decisions it entails, directly affect the

nature or conditions of the employees’ employment.”).

   B. Appellants Fail to Make a Plausible Threshold Showing That Corporate
      Appellees Are Their Employers
      Appellants do not even argue that Corporate Appellees were their employers

and, rather, merely address the issue of whether Corporate Appellees constitute a

single enterprise. Brief at 14-20. Appellants argue that the District Court erred, yet

without a sufficient explanation of the basis for this assertion. Brief at 16-17.

      1. Appellants Fail to Argue That Any of the Corporate Appellees Are
         Their “Normal” Employer
      Appellants’ SAC fails to sufficiently allege that any of the Corporate

Appellees are or were their “employer” (known as “normal employer”), and thus,

regardless of whether Corporate Appellees constitute a single enterprise under the

FSLA, there is no employer-employee relationship between Appellants and

Corporate Appellees. See, e.g., Arculeo v. On-Site Sales & Mktg., LLC, 425 F.3d

193, 198 (2d Cir. 2005) (summary order) (finding that “[t]here is well-established

authority under [a single employer] theory that… an employee, who is technically

employed on the books of one entity, which is deemed to be part of a larger ‘single-


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employer’ entity, may impose liability … on another entity comprising part of the

single integrated employer”)7.

      Appellants’ SAC also fails to sufficiently plead that Corporate Appellees were

employers of Appellants. Specifically, Appellants merely allege that they were

“employed by [Appellees] to work as a construction worker” SAC ¶¶10, 11, 140,

161, 162; A73-74, 89,92. Such allegations are too conclusory to support an inference

that Corporate Appellees exercised any control over Appellees as their employers,

and are merely a “legal conclusion couched as a factual allegation”, and thus not

entitled to any weight. See, Ashcroft, 556 U.S. at 678, 129 S. Ct. at 1949; see also,

Shi Ming Chen v. Hunan Manor Enter., Inc., No. 17 CIV. 802 (GBD), 2018 WL

1166626, at *9 (S.D.N.Y. Feb. 15, 2018) (The plaintiff was represented by

Appellants’ Counsel).

      2. Appellants Fail to Sufficiently Allege that Corporate Appellees
         Should Be Liable as a Single Employer Under a Single Enterprise
         Theory
      The single employer test8 analyzes “whether two or more employers can be

treated as one for purposes of assigning liability.” Gulino v. N. Y. State Educ. Dep’t,



7
  Appellees raised this argument in their motion to dismiss, and Appellants fail to
oppose this argument. Thus, Appellants have abandoned the argument that any of
the Corporate Appellees are or were their employer. A195.
8
  The Single Employer theory was applied in the context of Title VII. Arculeo v. On-
Site Sales & Mktg., LLC, 425 F.3d 193, 198 (2d Cir. 2005). Thus, the district courts
are split as to whether the single integrated enterprise rule applies to FLSA liability.
Some courts apply the integrated enterprise doctrine in the FLSA context; and some

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460 F.3d 361, 378 (2d Cir. 2006) (Title VII Context). “Under the single employer

doctrine, four factors determine whether two entities will be regarded as a single

employer subject to joint liability for employment-related acts. They are: (1)

interrelated operations, (2) common management, (3) centralized control of labor

relations, and (4) common ownership.” Murray v. Miner, 74 F.3d 402, 404 (2d Cir.

1996) (Employees’ Bonus Context); see also, Griffin v. Sirva Inc., 835 F.3d 283,

292 (2d Cir. 2016), certified question accepted sub nom. Griffin, Michael Godwin

v. Sirva, Inc., 28 N.Y.3d 956, 60 N.E.3d 420 (2016), and certified question answered,

29 N.Y.3d 174, 76 N.E.3d 1063 (2017) (Discrimination Context)

      This Circuit “views joint employment as a question to be resolved from the

totality of the evidence.” Barfield, 537 F.3d at 149. Further, “[a]lthough no one

factor is determinative ... control of labor relations is the central concern.” Murray,

74 F.3d at 404. Centralized control of labor relations includes “tasks such as



use the traditional economic realities test to determine whether multiple legal entities
constitute a single employer under the FLSA. See,
Tecocoatzi-Ortiz v. Just Salad LLC, No. 18-CV-7342 (JGK), 2022 WL 596831, at
*5 (S.D.N.Y. Feb. 25, 2022) (discussing the issue of whether the single integrated
enterprise theory applies to FLSA liability and noting that “[t]he Second Circuit
Court of Appeals has yet to apply the single integrated enterprise rule to FLSA
liability”); see also, Dacas v. Duhaney, No. 17CIV3568EKVMS, 2022 WL 5422709,
at *11 (E.D.N.Y. Aug. 11, 2022), report and recommendation adopted, No. 17-CV-
3568(EK)(VMS), 2022 WL 4483188 (E.D.N.Y. Sept. 27, 2022). Here, regardless
which doctrine this Court applies, Appellants fail to sufficiently allege a single
employer under both doctrines, the single integrated enterprise theory (Section
III.B.2) and the traditional economic realities test (Section III. A and Section III.B.1).

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handling job applications, approving personnel status reports, and exercising veto

power over major employment decisions.” Parker v. Columbia Pictures Indus., 204

F.3d 326, 341 (2d Cir. 2000) (ADA Context).

      Here, Appellants admit that they are obligated to sufficiently plead

“centralized control of labor relations.” Appellants’ SAC is devoid of any non-

conclusory allegations suggesting that the Corporate Appellees had an interrelation

of operations or centralized control of labor relations regarding any of Appellants’

“normal employers.” Appellants’ only argument is that Corporate Appellees are

employers because [individual appellees] “all controlled” Corporate Appellees. Opp.

at 12; A182. Such arguments fail because, as Section III.A shows, Individual

Appellees are not their employers.

      Appellants further argue that Corporate Appellees constitute a single

enterprise because: (1) they shared staff, (brief at 18-19); (2) they “would receive

pay from both [Nations Construction and JRS Service] for work performed at the

bequest of Escobar Construction” [sic] (id. at 18); (3) Corporate Appellees

“disregarded formal aspects of corporate control and lack of any documentation of

relationship between Corporate Defendants,” [sic] (id. at19); (4) Nations

Construction only took projects from Escobar Construction (id. at 20); (5) Nations

Construction made payments to Ms. Graciela Escobar (id); and (6) Appellee Alvarez

“reported directly to the supervisor of… Escobar Construction” [sic] (id).


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      The first argument should not be considered because they failed to raise this

argument with the District Court. Opp. at 11-12; Mathie v. Goord, 267 F. App’x 13,

14 (2d Cir. 2008) (Ruling that “this court will not review [the appellant’s] new claim

because it was not presented below”).

      Further, their arguments and allegations are contradictory, and thus should not

be considered as true. Appellants argue that Escobar assigned Appellants to various

locations (SAC¶118; A86-87), then also allege that Escobar “induced” them to work

at the worksite in Lafayette, IN, and that Palacios hired Appellant Perez for the

worksite at Binghamton, NY (id. ¶62; A80), and that Alvarez “hired each

construction worker for Nations Construction” (id. ¶111; A85). The allegation that

Appellee Escobar “dispatched” or “induced” Appellants to work at a different

worksite does not support a finding that Corporate Appellees are interconnected.

Brown v. Daikin Am. Inc., 756 F.3d 219, 227 (2d Cir. 2014) (Title VII Context)

(citing Cook v. Arrowsmith Shelburne, Inc., 69 F.3d 1235 (2d Cir.1995))(“In

determining whether a plaintiff adequately alleges centralized control over labor

relations—the most important prong in the four-part test—the central question is

‘[w]hat entity made the final decisions regarding employment matters related to the

person claiming discrimination?’”); see also, Huer Huang v. Shanghai City Corp.,

459 F. Supp. 3d 580, 589 (S.D.N.Y. 2020) (ruling that “[t]he fact that a single




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manager transfers an employee from one location to another can add support to a

claim that the two locations are not run independently but are interconnected”).

      The second to fifth arguments are insufficient as they fail to answer the

fundamental questions of whether and how each corporate entity controlled

Appellants as employees. Appellants admit that Nations Construction and JRS

Services are subcontractors of Escobar Construction. Ms. Graciela Escobar is not

the employee or owner of any Corporate Appellee.

      The last argument also fails because it is based on allegations that are not

contained in Appellants’ SAC. Appellants’ SAC never alleges that Nations

Construction “reported directly to the ‘supervisor of [Appellee Alvarez] averred that

[Escobar Construction] three to five times a month.’” Brief at 20. Conversely,

Appellants merely allege that Alvarez “would contact the supervisor of [Escobar

Construction] three to five times a month” [sic]. SAC¶ 107; A85. Thus, the sixth

Argument should not be considered because Appellants failed to raise this Argument

with the District Court and because Appellants cannot amend their SAC in their

appeal brief. See, Shah, 252 F. App’x at 366 (ruling that “[a] party may not use his

or her opposition to a dispositive motion as a means to amend the complaint”); and

Scott, 641 F.Supp.2d at 229; and Greene v. United States, 13 F.3d 577, 586 (2d

Cir.1994).




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      Thus, Appellants fail to plead sufficient facts to plausibly allege that

Corporate Appellees are their employers or should be liable as a single employer

under the liberal standard of a single integrated enterprise. See, e.g., Apolinar v. R.J.

49 Rest., LLC, No. 15-cv-8655-KBF, 2016 WL 2903278, at *4 (S.D.N.Y. May 18,

2016) (Rejecting Similar Arguments Raised by Appellants’ Counsel).

                                CONCLUSION
      For the foregoing reasons, the District Court’s decision to grant Appellees-

Defendants’ motion to dismiss Appellants-Plaintiffs’ SAC should be affirmed.



      Dated: New York, NY
             December 22, 2023
                                                      /s/Daniel Grace
                                                      Daniel Grace, Esq
                                                      Yuting Li, Esq.
                                                      Douglas Mace, Esq.
                                                      Danny Grace PLLC
                                                      225 Broadway, Suite 1200
                                                      New York, NY 10007
                                                  Attorneys for Defendants-Appellees




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  Dated: New York, NY
         December 22, 2023
                                               /s/Daniel Grace
                                               Daniel Grace, Esq
                                               Yuting Li, Esq.
                                               Douglas Mace, Esq.
                                               Danny Grace PLLC
                                               225 Broadway, Suite 1200
                                               New York, NY 10007
                                            Attorneys for Defendants-Appellee
          Case 23-1240, Document 47, 12/22/2023, 3600115, Page40 of 40




                         CERTIFICATE OF SERVICE

      The undersigned counsel hereby certifies that on this 22nd day of December

2023, I caused to be electronically filed the foregoing Appellees’ Opposition

Appellants’ Brief with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the below listed CM/ECF participants:

                                   John Troy
                               Aaron Schweitzer
                                  Tiffany Troy
                              TROY LAW, PLLC
                       41-25 Kissena Boulevard, Suite 110
                              Flushing, NY 11355
                                (718) 762-1324
                        Counsel for Plaintiffs-Appellants



                                                    /s/Daniel Grace
                                                    Daniel Grace, Esq
                                                    Yuting Li, Esq.
                                                    Douglas Mace, Esq.
                                                    Danny Grace PLLC
                                                    225 Broadway, Suite 1200
                                                    New York, NY 10007
                                                Attorneys for Defendants-Appellees
